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                   12

                   13                               UNITED STATES DISTRICT COURT

                   14                             NORTHERN DISTRICT OF CALIFORNIA

                   15                                       OAKLAND DIVISION

                   16

                   17   In re Google RTB Consumer Privacy              Master File No. 4:21-cv-02155-YGR-VKD
                        Litigation,
                   18                                                  GOOGLE’S RESPONSE TO PLAINTIFFS’
                                                                       ADMINISTRATIVE MOTION TO CONSIDER
                   19                                                  WHETHER ANOTHER PARTY’S MATERIALS
                        This Document Relates to: all actions          SHOULD BE SEALED (ECF NO. 696)
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                                                                                              GOOGLE’S RESPONSE TO
                   28                                                               PLAINTIFFS’ ADMIN. MOT. TO SEAL
COOLEY LLP                                                                         CASE NO. 4:21-CV-02155-YGR-VKD
ATTORNEYS AT LAW
 SAN FRANCISCO
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                    1   I.     INTRODUCTION
                    2          Pursuant to Northern District of California Civil Local Rules 7-11 and 79-5(f)(3), Google
                    3   LLC (“Google”) respectfully submits this Response (“Google’s Response”) to Plaintiffs’
                    4   Administrative Motion to Consider Whether Another Party’s Materials Should be Sealed (ECF No.
                    5   696), which was filed in connection with Plaintiffs’ Motion for Contempt and Spoliation Sanctions
                    6   Re Named Plaintiffs Data (“Plaintiffs’ Motion”) (ECF No. 697), the Declaration of Jonathan K.
                    7   Levine in support of Plaintiffs’ Motion (“Levine Declaration”) (ECF No. 697-1), the accompanying
                    8   Exhibit A to the Levine Declaration (ECF No. 697-2), and the Proposed Order Granting Plaintiffs’
                    9   Motion (“Plaintiffs’ Proposed Order”) (ECF No. 697-3).
                   10          As set forth in this Response and in the accompanying Declaration of Whitty Somvichian
                   11   (“Somvichian Decl.”), the portions of these documents cited below contain highly sensitive,
                   12   confidential, and proprietary information that Google designated as “Confidential” and/or “Highly
                   13   Confidential—Attorneys’ Eyes Only” pursuant to the terms of the Stipulated Protective Order,
                   14   which the Court entered on June 3, 2021 (the “Protective Order”) (ECF No. 59). Specifically, the
                   15   cited portions of these documents contain information regarding the technical details of Google’s
                   16   internal logs and data systems, as well as descriptions of internal mechanisms related to the
                   17   management and protection of user identifiers. This Court has consistently granted Google’s prior
                   18   requests to seal descriptions of and references to Google’s internal logs and data systems. See, e.g.,
                   19   ECF No. 540 (sealing portions of a letter brief containing technical details and account identifiers
                   20   related to Google’s highly sensitive data logs and data systems); ECF No. 531 (sealing discussion
                   21   of Google’s “technical details and identifiers related to highly sensitive data logs and data
                   22   systems.”).
                   23          Accordingly, Google hereby requests that the Court enter an order sealing the information
                   24   identified in the table below, as reflected in the Proposed Order attached hereto:
                                    Document                       Text to be Sealed               Party Claiming
                   25                                                                              Confidentiality
                   26    Plaintiffs’ Motion for             Portions highlighted at PDF     Google
                         Contempt and Spoliation            pages 2, 6-8, 10-17, 19-20,
                   27    Sanctions Re Named Plaintiffs      22
                   28
COOLEY LLP                                                                                            GOOGLE’S RESPONSE TO
ATTORNEYS AT LAW                                                                            PLAINTIFFS’ ADMIN. MOT. TO SEAL
 SAN FRANCISCO                                                                             CASE NO. 4:21-CV-02155-YGR-VKD
                                                                          2
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                    1    Data (“Plaintiffs’ Motion”)
                         (ECF No. 696-4)
                    2    Levine Declaration (ECF No.        Portions highlighted at PDF      Google
                         696-5)                             pages 2-5
                    3    Exhibit A to the Levine            Portions highlighted at          Google
                         Declaration (ECF No. 696-6)        transcript pages 12:1-3;
                    4                                       12:7-10; 12:20-13:10;
                                                            13:12; 13:16-25; 15:1-6;
                    5                                       15:9-16; 89:4; 90:1-3;
                                                            223:4; 223: 8; 223:11;
                    6                                       223:12; 223:16-17; 223:23;
                                                            224:2-3; 224:17; 224:24;
                    7                                       225:1; 225:4-5; 225:11;
                                                            225:14; 225:17-18; 225:23;
                    8                                       225:24-25; 226:6; 226:8;
                                                            226:18; 226:22; 237:9-10;
                    9                                       238:1; 238:6; 238:11;
                                                            238:13-15.
                   10
                         Plaintiffs’ Proposed Order         Portions highlighted at PDF      Google
                   11    Granting Plaintiffs’ Motion        pages 2-6
                         (ECF No. 696-7)
                   12

                   13   II.    LEGAL STANDARD

                   14          The Ninth Circuit applies two tests to determine whether a party is entitled to file certain

                   15   documents under seal: a “compelling reasons” test for dispositive motions and a “good cause” test

                   16   for motions “not related, or only tangentially related, to the merits of a case.” Ctr. for Auto Safety

                   17   v. Chrysler Grp., LLC, 809 F.3d 1092, 1097, 1099 (9th Cir. 2016) (citations omitted); Kamakana

                   18   v. City & County of Honolulu, 447 F.3d 1172, 1179–80 (9th Cir. 2006).

                   19          Briefing for a discovery motion is non-dispositive, and thus the good cause standard applies

                   20   here. See, e.g., ECF No. 453 (“The underlying discovery dispute does not address the merits of the

                   21   parties’ claims or defenses, and the Court therefore applies the ‘good cause’ standard of Rule

                   22   26(c).”); see also Calhoun v. Google, No. 20-cv-05146, ECF No. 327, at 2 (N.D. Cal. Sept. 30,

                   23   2021) (finding the “good cause” standard applies “because the information the parties seek to seal

                   24   was submitted to the Court in connection with discovery-related motions, rather than a motion that

                   25   concerns the merits of the case.”); Pieterson v. Wells Fargo Bank, N.A., No. 17-cv-02306, 2018

                   26   WL 10362631, at *2 (N.D. Cal. Nov. 8, 2018) (“Because the sealing requests were made in

                   27   conjunction with a non-dispositive discovery motion, a showing under the good cause standard will

                   28   suffice.”). The good cause standard “requires a ‘particularized showing,’ . . . that ‘specific prejudice
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ATTORNEYS AT LAW                                                                                      GOOGLE’S RESPONSE TO
 SAN FRANCISCO                                                          3                   PLAINTIFFS’ ADMIN. MOT. TO SEAL
                                                                                           CASE NO. 4:21-CV-02155-YGR-VKD
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                    1   or harm will result’ if the information is disclosed.” Heath v. Google LLC, No. 15-cv-01824, 2018
                    2   WL 4561773, at *1 (N.D. Cal. Sept. 20, 2018) (quoting Phillips ex rel. Estates of Byrd v. Gen.
                    3   Motors Corp., 307 F.3d 1206, 1210–11 (9th Cir. 2002)).
                    4   III.   GOOD CAUSE WARRANTS SEALING OF PORTIONS OF PLAINTIFFS’ MOTION AND THE
                               SUPPORTING DOCUMENTS
                    5
                               Google respectfully asks this Court to seal the cited portions of Plaintiffs’ Motion, the
                    6
                        Levine Declaration, Exhibit A to the Levine Declaration, and Plaintiffs’ Proposed Order which
                    7
                        reflect sensitive and technical details concerning Google’s internal data logs, data systems, and
                    8
                        mechanisms related to the protection of user identifiers.
                    9
                               As an initial matter, Google has narrowly tailored these sealing requests to encompass only
                   10
                        the specific portions that qualify as confidential information and therefore do not “unduly limit[]
                   11
                        public access.” ASUS Comput. Int’l v. Round Rock Research, LLC, No. 12-cv-02099, 2014 WL
                   12
                        2810193, at *2 (N.D. Cal. June 20, 2014); see also Civ. L.R. 79-5(c).
                   13
                               Further, pursuant to the good cause standard, Google’s sealing request is warranted. The
                   14
                        information Google seeks to seal relate to highly sensitive data logs, data systems, and mechanisms
                   15
                        related to the protection of user identifiers that Google maintains as confidential in the ordinary
                   16
                        course of its business and that are not generally known to the public or Google’s competitors.
                   17
                        (Somvichian Decl. ¶¶ 3, 5.)    Public disclosure of this information would create a risk of cyber
                   18
                        security threats and other risks as bad actors would have access to names of Google’s logs or
                   19
                        descriptions of particular data systems, and such access may make it easier for bad actors to piece
                   20
                        together previously unconnectable facts. (Id. ¶¶ 3, 5-6.) In the same vein, third parties may seek
                   21
                        to use this information to compromise Google’s data sources, including data logs, internal data
                   22
                        structures, and internal identifier systems in an attempt to improperly access user data or infer
                   23
                        additional information about Google users that Google stores in those logs. (Id. ¶¶ 3, 5-7.)
                   24
                               This Court has implicitly recognized these risks by sealing similar information and
                   25
                        descriptions of Google logs that Google seeks to seal here. See ECF No. 531 (granting Google’s
                   26
                        request, over Plaintiffs’ objections, for sealing of joint letter briefs that described Google’s data
                   27
                        sources, including data logs, internal data structures, and internal identifier systems); ECF No. 384
                   28
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ATTORNEYS AT LAW                                                                                    GOOGLE’S RESPONSE TO
 SAN FRANCISCO                                                        4                   PLAINTIFFS’ ADMIN. MOT. TO SEAL
                                                                                         CASE NO. 4:21-CV-02155-YGR-VKD
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                    1   (sealing documents containing technical details and identifiers related to Google’s highly sensitive
                    2   data logs and data systems); ECF No. 324 (sealing portions concerning Google’s data signals,
                    3   internal strategy, and business practices); ECF No. 186 (sealing descriptions of data sources). This
                    4   Court’s rulings are consistent with well-established precedent across this District, which confirm
                    5   that courts regularly seal information relating to technical details about a company’s internal data
                    6   infrastructure. See, e.g., In re Google Inc. Gmail Litig., No. 13-md-02430, 2013 WL 5366963, at
                    7   *3 (N.D. Cal. Sept. 25, 2013) (sealing information about structures that Google has in place, and
                    8   the order in which emails go through these structures, that “if made public Google contends could
                    9   lead to a breach in the security” of Google’s systems); see also In re Facebook, Inc. Consumer
                   10   Priv. User Profile Litig., No. 3:18-md-02843, ECF No. 1082 (N.D. Cal. Dec. 6, 2022) (finding
                   11   good cause to seal certain highly technical information related to the defendant’s data systems);
                   12   Free Range Content, Inc. v. Google Inc., No. 14-cv-02329, ECF No. 192, at 3–9 (N.D. Cal. May
                   13   3, 2017) (granting motion to seal certain sensitive business information related to Google’s
                   14   processes and policies to ensure the integrity and security of a different advertising system). As
                   15   another court observed, this information is vital to Google’s commercial success, and is the sort of
                   16   “sensitive, non-public, confidential, and proprietary business information” that courts routinely seal
                   17   under the more stringent compelling reasons standard. Adtrader, Inc. v. Google LLC, No. 17-cv-
                   18   07082, 2020 WL 6391210, at *2 (N.D. Cal. Mar. 24, 2020).
                   19   IV.    CONCLUSION
                   20           For the foregoing reasons, Google respectfully requests the Court seal the aforementioned
                   21   portions of Plaintiffs’ Motion, the Levine Declaration, Exhibit A to the Levine Declaration, and
                   22   Plaintiffs’ Proposed Order.
                   23
                        Dated: May 10, 2024                                 COOLEY LLP
                   24

                   25
                                                                            By: /s/ Whitty Somvichian
                   26                                                           Whitty Somvichian
                   27                                                       Attorney for Defendant
                                                                            GOOGLE LLC
                   28
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ATTORNEYS AT LAW                                                                                     GOOGLE’S RESPONSE TO
 SAN FRANCISCO                                                         5                   PLAINTIFFS’ ADMIN. MOT. TO SEAL
                                                                                          CASE NO. 4:21-CV-02155-YGR-VKD
